928 F.2d 1131
    Federal Kemper Insurance Companyv.Sicherman (Surena M.), Estate of Sicherman (Andrew C.),Charles (Robert W., Jay W.), Davis (Joseph K.,Shirley A.), Estate of Davis (Jo Ann);Davis (Joseph K., Shirley A.),Estate of Davis (Jo Ann)
    NOS. 90-1542, 90-1543
    United States Court of Appeals,Third Circuit.
    FEB 05, 1991
    
      Appeal From:  E.D.Pa.,
      Van Antwerpen, J.,
    
    739 F.Supp. 991
    
      1
      AFFIRMED.
    
    